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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


  TANYA GERSH,
                                                    CV 17-50-M-DLC-JCL
                       Plaintiff,

  vs.                                                 ORDER

  ANDREW ANGLIN,

                       Defendant.

        Defendant Andrew Anglin has submitted a declaration in support of his

pending motion to dismiss, in which he states that if the Court requires him to, he

“will make any necessary in camera submission” to establish his current

whereabouts. (Doc. 64-1, at 5). Defendant claims that “for reasons of personal

safety,” he cannot publicly file proof of his current whereabouts. (Doc. 64-1, at 5).

        IT IS ORDERED that Defendant shall have until February 16, 2018, within

which to submit whatever proof he deems necessary to establish his current

whereabouts for in camera review by the Court. The Court will reserve ruling on

whether to maintain any materials submitted by Defendant ex parte under seal or

order that they be publicly filed in the case, with appropriate redactions, until after
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it has had the opportunity to complete its in camera review.

            DATED this 7th day of February, 2018.



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                                             Jeremiah C. Lynch
                                             United States Magistrate Judge




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